Case 19-40481-JDP           Doc 393    Filed 05/14/21 Entered 05/14/21 11:25:32                Desc Main
                                      Document      Page 1 of 4



 Daniel C. Green (ISB No. 3213)
 Heidi Buck Morrison (ISB No. 9396)
 RACINE OLSON, PLLP
 P.O. Box 1391
 Pocatello, Idaho 83204
 Phone: (208) 232-6101
 Fax: (208) 232-6109
 dan@racineolson.com
 heidi@racineolson.com

 Attorneys for R. Sam Hopkins

                             UNITED STATES BANKRUPTCY COURT

                                         DISTRICT OF IDAHO

  In re:                                                          Case No. 19-40481-JDP
                                                                        (Chapter 7)
  RYAN HINTON, INC.,

  Debtor.

                                          STATUS UPDATE



           In response to the Status Request (Dkt. 392), R. Sam Hopkins, the Chapter 7 Trustee (the

 “Trustee”), by and through counsel, states and represents as follows:

           1.     The Trustee is investigating a claim for breach of contract against Oak Valley Dairy

 on behalf of Debtor and anticipates filing a lawsuit in state court to recover damages on that claim

 within a month.

           2.     The Trustee is pursuing the counterclaim against Landview in Landview v. Ryan

 Hinton Inc. (Case No. CV42-18-4873, pending in the District Court of the Fifth Judicial District of

 the State of Idaho, in and for the County of Twin Falls). The Trustee is in the process of investigating

 the claims and conducting discovery. The state court has not yet set scheduling deadlines. However,

 the Trustee intends to resolve the case without the necessity of trial. The Trustee anticipates the case

 will be resolved within the next 6-9 months.

 STATUS UPDATE – Page 1
Case 19-40481-JDP          Doc 393     Filed 05/14/21 Entered 05/14/21 11:25:32                Desc Main
                                      Document      Page 2 of 4



         3.      The Trustee is pursuing the Debtor’s claim in the pending state court action entitled

 R. Sam Hopkins, Chapter 7 Trustee of the Bankruptcy Estate of Ryan Hinton, Inc. v. B&B Feed, et.

 al. (Case No. CV42-19-1604, pending in the District Court of the Fifth Judicial District of the State

 of Idaho, in and for the County of Twin Falls). The Trustee is in the process of investigating the

 claims and conducting discovery. The state court has not yet set scheduling deadlines. However, the

 Trustee intends to resolve the case without the necessity of trial. The Trustee anticipates the case will

 be resolved within the next 6-9 months.

         DATED this 13th day of May, 2021.


                                                 RACINE OLSON, PLLP


                                                 By: /s/ Heidi Buck Morrison
                                                         HEIDI BUCK MORRISON




 STATUS UPDATE – Page 2
Case 19-40481-JDP         Doc 393    Filed 05/14/21 Entered 05/14/21 11:25:32         Desc Main
                                    Document      Page 3 of 4



                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 13th day of May, 2021, I filed the foregoing electronically
 through the CM/ECF system, which caused the following parties or counsel to be served by
 electronic means, as more fully reflected on the Notice of Electronic Filing:

  Megan M Adeyemo                                 Jed W Manwaring
  madeyemo@gordonrees.com                         jmanwaring@evanskeane.com
  asoto@grsm.com                                  jgeier@evanskeane.com

  omeo Kade Beorchia                              Jed W. Manwaring
  kade@worstandassociates.com                     jmanwaring@evanskeane.com
                                                  valerie@evanskeane.com
  Laura E Burri
  lburri@morrowfischer.com                        James C Meservy
  klee@morrowfischer.com                          jcmeservy@wmlattys.com
                                                  dlpeterson@wmlattys.com
  Brett R Cahoon                                  lmcarpenter@wmlattys.com
  ustp.region18.bs.ecf@usdoj.gov                  jmbos@wmlattys.com

  Alexandra O Caval                               Rhett Michael Miller
  alex@cavallawoffice.com                         rhett@pmt.org
  R71985@notify.bestcase.com
                                                  Chad Moody
  Matthew Todd Christensen                        chad@angstman.com
  mtc@angstman.com                                govai@angstman.com
  mtcecf@gmail.com                                megan@angstman.com
  govai@angstman.com                              caroline@angstman.com
  megan@angstman.com                              ecf@angstman.com
  abbie@angstman.com
  ecf@angstman.com                                David Wayne Newman
  atty_christensen@bluestylus.com                 ustp.region18.bs.ecf@usdoj.gov
  christensenmr81164@notify.bestcase.com
                                                  Derrick J O'Neill
  David A Coleman                                 doneill@idalaw.com
  david@crctflaw.com                              mmills@idalaw.com

  Kimbell D Gourley                               John C Peterson
  kgourley@idalaw.com                             johncpeterson@cableone.net
  swibright@idalaw.com
                                                  Sheila Rae Schwager
  Shannon Graham                                  sschwager@hawleytroxell.com
  smg@kellylawidaho.com                           dsorg@hawleytroxell.com
  tls@kellylawidaho.com
                                                  Thomas Daniel Smith
                                                  tsmith8206@cableone.net


 STATUS UPDATE – Page 3
Case 19-40481-JDP         Doc 393    Filed 05/14/21 Entered 05/14/21 11:25:32        Desc Main
                                    Document      Page 4 of 4



  R Sam Hopkins                                   US Trustee
  samhopkins@rsh7trustee.com                      ustp.region18.bs.ecf@usdoj.gov
  ID13@ecfcbis.com
                                                  Julie Varin
  R Ron Kerl                                      jvarin@grsm.com, tduff@grsm.com
  Ron@cooper-larsen.com
  kelli@cooper-larsen.com                         Jeremy Vaughn
  bobbi@cooper-larsen.com                         sks&t@idaho-law.com
                                                  Brent Russel Wilson
  Peter J Kuhn                                    bwilson@hawleytroxell.com
  peter.j.kuhn@usdoj.gov                          dsorg@hawleytroxell.com

  David Henry Leigh
  dleigh@rqn.com
  swilliams@rqn.com;docket@rqn.com

 AND I FURTHER CERTIFY that on such date I served the foregoing on the following non-
 CM/ECF Registered Participants via U.S. Mail, First-Class, postage prepaid and addressed as
 follows:

  Ryan Hinton, Inc.                              U.S. Bank National Association dba U.S. Bank
  PO Box 5985                                    Equipment Finance
  Twin Falls, ID 83301                           Givens Pursley LLP
                                                 c/o Amber Dina
  Robert D Long                                  601 W. Bannock St.
  Jordan & Co. CPA's                             P.O. Box 2720
  109 N Arthur, Ste 400                          Boise, ID 83701
  Pocatello, ID 83204

  Prime Time Auctions
  3400 S 5th
  Pocatello, ID 83201




                                            /s/ Heidi Buck Morrison
                                            HEIDI BUCK MORRISON




 STATUS UPDATE – Page 4
